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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA
and STATE OF FLORIDA
      ex rel. ROBERT V. SMITH,

      Qui Tam Plaintiff,

v.                                        CASE NO. 3:20-cv-03678/MCR/EMT

JAY A. ODOM; OKALOOSA
COUNTY, BOARD OF COUNTY
COMMISSIONERS,

      Defendants.
                                     /

    DEFENDANT, OKALOOSA COUNTY BOARD OF COUNTY
COMMISSIONERS’ CONSENTED MOTION FOR EXTENSION OF TIME
       TO FILE RESPONSE TO AMENDED COMPLAINT

      Defendant, Okaloosa County Board of County Commissioners (the

“County”), by and through their undersigned counsel, pursuant to Fed. R. Civ. P.

6(b)(1)(A) and Northern District of Florida Rule 6.1, hereby files this Consented

Motion for Extension of Time to Respond to Amended Complaint (the “Consented

Motion”). In support of their Consented Motion, the County states:

      1.    Plaintiff has filed his Amended Complaint setting forth multiple counts

against the County and Co-Defendant Jay Odom. The County was served with the

Amended Complaint on August 22, 2022.
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      2.     Under Federal Rule of Civil Procedure 12(a)(1)(A)(i), the County’s

response is currently due September 12, 2022.

      3.     The County requires additional time to prepare its response, and

Plaintiff has consented to an extension of time for the filing of the response to

September 28, 2022.

      4.     The County respectfully requests that this Court enter an order granting

an extension of time up to and including September 28, 2022, for the County to

respond to the Amended Complaint.

      5.     The undersigned counsel certifies that the requested extension is sought

in good faith and not solely for purposes of delay.

      WHEREFORE, the County respectfully requests that this Court grant its

Consented Motion for an extension of time to respond to the Amended Complaint,

up to and including September 28, 2022.

               CERTIFICATION PURSUANT TO LOCAL RULE 7.1

      Pursuant to Local Rules 7.1(B) and 7.1(C), on September 10, 2022, the

County’s counsel conferred with Plaintiff’s counsel via email regarding the relief

requested. Counsel for Plaintiff advised that they consent to an extension of time to

respond to the Amended Complaint up to and including September 28, 2022.




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                                   Respectfully submitted,



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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the             12th   day of September 2022, I

electronically filed the foregoing document with the Clerk of Court using the

CM/ECF system. I also certify that the foregoing document is being served this date

on all counsel of record via transmission of Notices of Electronic Filing generated

by the CM/ECF system to the following counsel of record:

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